Case 3:24-cr-00128-MEM Document1 Filed 05/14/24 Page 1 of 4

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA: ~~ No. 3:24-CR- / LY
Vv. ni .
(Judge iW
JORDAN GEE, (ILO
Defendant.
INDICTMENT FILED
SCRANTON
THE GRAND JURY CHARGES: MAY 1/4 2004
PER dl)
COUNT 1 DEPUTY CLERK
18 U.S.C. § 871 os .

(Threat against the President)
On or about April 15, 2024, in the Middle District of Pennsylvania,

the defendant,

JORDAN GEE,
did knowingly and willfully make a threat to take the life of and to
inflict bodily harm upon the President of the United States, specifically,
the defendant posted a video of himself on the Internet stating, “I’m
going to kill you, Joe Biden. Stay out of my city.”

In violation of Title 18, United States Code, Section 871(a).
Case 3:24-cr-00128-MEM Document1 Filed 05/14/24 Page 2 of 4

THE GRAND JURY FURTHER CHARGES:
COUNT 2
18 U.S.C. § 871
(Threat against the President)
On or about April 15, 2024, in the Middle District of Pennsylvania,

the defendant,

JORDAN GEE,
did knowingly and willfully make a throat to take the life of and to
inflict bodily harm upon the President of the United States, specifically,
the defendant posted a video of himself on the Internet stating, “Joe

Biden: I’m going to kill you and your whole cabinet.”

In violation of Title 18, United States Code, Section 871 (a).

THE GRAND JURY FURTHER CHARGES:
COUNT 3
18 U.S.C. § 871
(Threat against the President)
On or about April 15, 2024, in the Middle District of Pennsylvania,
the defendant,
JORDAN GEE,

did knowingly and willfully make a threat to take the life of and to
Case 3:24-cr-00128-MEM Document1 Filed 05/14/24 Page 3 of 4

inflict bodily harm upon the President of the United States, specifically,
the defendant posted a video of himself on the Internet stating, “J oe
Biden: I’m going to kill you. Joe Biden: I’m going to decapitate you in
front of everybody on live TV... . If you come to my city in Scranton,
Pennsylvania, I’m cutting your fucking head off in front of everybody; I

promise.”

In violation of Title 18, United States Code, Section 871 (a).

THE GRAND JURY FURTHER CHARGES:
COUNT 4
18 U.S.C. § 875(c)
(Interstate Threats)

On or about April 15, 2024, in the Middle District of Pennsylvania,

the defendant,
JORDAN GEE,

did knowingly and willfully transmit in interstate commerce a
communication containing a threat to injure the person of another, that

is, the defendant caused a video to be posted on himself on the Internet

in which he stated, “Joe Biden: ’m going to kill you and your whole
Case 3:24-cr-00128-MEM Document1 Filed 05/14/24 Page 4 of 4

cabinet. The mayor of Kingston and Wilkes-Barre: I’m going to kill you.

I’m going to kill you.”

In violation of Title 18, United States Code, Section 875(c).

A TRUE BILL
GERARD M. KARAM
United States Attorney
BECELZED 7
VI" 514 Jen
KYLE A. MORENO Date

Assistant United States Attorney
